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                                     #:28402

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                                UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16      JENNY LISETTE FLORES, et al.,               )   Case No. CV 85-4544 DMG (AGRx)
                                                    )
17               Plaintiffs,                        )   ORDER GRANTING LEAVE TO FILE
        - vs -
18                                                  )   CORRECTED POINTS AND AUTHORITIES
                                                    )   IN SUPPORT OF MOTION TO ENFORCE
19      WILLIAM P. BARR, Attorney                   )   SETTLEMENT AND EXHIBIT 10 UNDER
20
        General of the United States, et al.,       )   SEAL
                                                    )
21               Defendants.                        )   [PROPOSED]
22
                                                _   )
23                                                      [HON. DOLLY M. GEE]
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     Case 2:85-cv-04544-DMG-AGR Document 557-3 Filed 06/14/19 Page 2 of 4 Page ID
                                     #:28403

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1             Pursuant to the Plaintiffs’ Supplemental Application for Leave to File
2       Corrected Points and Authorities in Support of Motion to Enforce Settlement
3
        and Exhibit 10 Under Seal, good cause appearing therefor, it is hereby Ordered
4

5       as follows:
6
              1. Plaintiffs are granted leave to file in the public record Plaintiffs’ Corrected
7
        Points and Authorities in Support of Motion to Enforce Settlement and Exhibit 10,
8

9       identifying Class Member asylum applicants and a non-supervisory Government
10
        employee, with identifying information redacted so as to protect the identities of such
11
        persons. Pursuant to 8 C.F.R. §§ 208.6 and 1208.6 the identities of asylum applicants
12

13      are confidential. Pursuant to the Stipulated Protective Order, dated March 12, 2019,
14
        entered into the pending case entitled Lucas R. v. Alex Azar, 2:18-CV-05741 (CD Cal.),
15
        Plaintiffs may redact the name of the non-supervisory government employee deponent
16

17      in Plaintiffs’ Exhibit 10. Plaintiffs are granted leave to file under seal the unredacted
18
        versions of these documents.
19
              2. Plaintiffs shall comply with all current Local Civil Rules regarding the filing
20

21      of documents under seal.
22
              IT IS SO ORDERED.
23
        Dated: _________________, 2019.                  _______________________
24
                                                         Dolly M. Gee
25                                                       United States District Judge
26
        Presented by
        /s/Peter Schey
27      Peter A. Schey
28
        Class Counsel for Plaintiffs




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1                                      CERTIFICATE OF SERVICE
2             I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I am
4

5       employed in the County of Los Angeles, State of California. My business address is
6
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7
              On June 14, 2019 I electronically filed the following document(s):
8

9          • ORDER GRANTING LEAVE TO FILE CORRECTED POINTS AND AUTHORITIES IN
10
               SUPPORT OF MOTION TO ENFORCE SETTLEMENT AND EXHIBIT 10 UNDER SEAL
11            [Proposed]
        with the United States District Court, Central District of California by using the
12

13      CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16

17                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
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